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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                             :
UNITED STATES OF AMERICA                     :      Case No.: 1:22-cr-00251-ABJ
                                             :
                                             :
       v.                                    :
                                             :
LINWOOD ALAN ROBINSON, SR.                   :
et al,                                       :
                                             :
       Defendant.                            :
                                             :

      THE UNITED STATES OF AMERICA’S RESPONSE TO DEFENDANT
     BENJAMIN SCOTT ROBINSON’S EMERGENCY MOTION TO MODIFY
                     CONDITIONS OF RELEASE

       The United States of America does not oppose Defendant Benjamin Scott Robinson’s

Emergency Motion to Modify Conditions of Release. The Government has conferred with U.S.

Pretrial Services regarding Defendant reporting in his Motion that Pretrial Services has told him

that he is not allowed to move his residence. It is the Government’s understanding that Pretrial

Services only opposed this change of residence because it had not received a Court order regarding

same, not because of any underlying concerns regarding Mr. Robinson. With a Motion now being

filed to obtain that Order, the Government has no objection to said Motion.




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                                   Respectfully submitted,


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